Case 1:20-cv-23463-MGC Document 15 Entered on FLSD Docket 03/19/2021 Page 1 of 5




                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                   Case Number: 1:20-cv-23463-XXXX
                                   Magistrate Judge: Jonathan Goodman



  MARIA PEREZ-SERA,                                              )
                                                                 )
           Plaintiff,                                            )
                                                                 )
  v.                                                             )
                                                                 )
  CARNIVAL CORPORATION, a Panamian                               )
  Corporation, the owner and operator of the                     )
  Trademark CARNIVAL CRUISE LINE,                                )
                                                                 )
           Defendant.                                            )
                                                        /        )

                                   PLAINTIFFS’ FACT WITNESS LIST

  PRESIDING JUDGE:                                              PLAINTIFFS’                     DEFENDANTS’
                                                                ATTORNEYS:                      ATTORNEYS:
  Hon. Marcia G Cooke
                                                                Deborah J. Gander               Michael J. Drahos
                                                                Colson Hicks Eidson

  TRIAL DATE: February 21, 2022                                 COURT REPORTER: COURTROOM
                                                                                DEPUTY:


   Plf    De Live         Direct      Cross                 Address                       Description of Witness
   #       f  or          (est.)      (est.)
           #  by
             Depo
   1.        Live                               265 NW 35 Avenue                    Maria del Carmen Perez-Sera
                                                Miami, FL 33125
                                                                                    Plaintiff. Knowledge as to liability
                                                                                    and damages




                                                        1
                                               Colson Hicks Eidson
         255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Tel. (305) 476-7400 Fax (305) 476-7444
Case 1:20-cv-23463-MGC Document 15 Entered on FLSD Docket 03/19/2021 Page 2 of 5




   Plf    De Live         Direct      Cross                 Address                       Description of Witness
   #       f  or          (est.)      (est.)
           #  by
             Depo
    2.       Live                               13201 SW 49 Street                  Lucy Garcia
                                                Miami, FL
                                                                                    Knowledge as to liability and
                                                                                    damages. Ms. Garcia was with
                                                                                    Plaintiff when the incident
                                                                                    occurred

    3.          Live                            12844 SW 53 Street                  Elizabeth Perez
                                                Miami, FL 33175
                                                                                    Knowledge as to liability and
                                                                                    damages. Ms. Garcia was with
                                                                                    Plaintiff when the incident
                                                                                    occurred

    4.          Live                            c/o Carnival Cruise Lines           Carnival Corporation Corporate
                                                                                    Representative

                                                                                    Knowledge as to liability and
                                                                                    damages

    5.          Live                            c/o Carnival Cruise Lines           Jagdish Pai

                                                                                    Chief    Security     Officer.
                                                                                    Knowledge as to liability and
                                                                                    damages.

    6.          Live                            c/o Carnival Cruise Lines           Arvind Lagas

                                                                                    Security Officer. Knowledge as to
                                                                                    liability and damages

    7.          Live                            1409 SW 19th Lance                  Eileen Smith
                                                Cape Coral, FL 33991
                                                                                    Scooter driver. Knowledge as to
                                                                                    liability and damages.




                                                        2
                                               Colson Hicks Eidson
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Case 1:20-cv-23463-MGC Document 15 Entered on FLSD Docket 03/19/2021 Page 3 of 5




   Plf     De Live         Direct      Cross                 Address                       Description of Witness
   #        f  or          (est.)      (est.)
            #  by
              Depo
    8.        Live                               c/o Carnival Cruise Lines           Michelle Paz, RN
                                                                                     Carnival Horizon Medical Center

                                                                                     Ship nurse. Knowledge as to
                                                                                     liability and damages


    9.           Live                            c/o Carnival Cruise Lines           Xavier Rosales, RN
                                                                                     Carnival Horizon Medical Center

                                                                                     Ship nurse. Knowledge as to
                                                                                     liability and damages

    10.          Live                            c/o Carnival Cruise Lines           Dr. Kenyo
                                                                                     Carnival Horizon Medical Center

                                                                                     Ship doctor. Knowledge as to
                                                                                     liability and damages

    11.          Live                            c/o Carnival Cruise Lines           Claudia Patricia Gonzalez Chagin,
                                                                                     M.D.
                                                                                     Carnival Horizon Medical Center

                                                                                     Ship doctor. Knowledge as to
                                                                                     liability and damages

    12.          Live                            1150 Campo Sano Ave.                Charles Javier Jordan, M.D.
                                                 3rd Floor
                                                 Coral Gables, FL 33146              Treating Orthopeadic Surgeon.
                                                                                     Knowledge as to damages.


    13.          Live                            1321 NW 14th St.                    Manuel Garcia-Frangie, MD
                                                 Miami, FL 33125
                                                                                     Rehabilitation Treating Physician.
                                                                                     Knowledge as to damages.


    14.          Live                            7265 SW 93 Ave                      Rosanna Buigas, M.D.
                                                 Suite #203
                                                 Miami, FL 33173                     Primary Care Physician.
                                                                                     Knowledge as damages.
                                                         3
                                                Colson Hicks Eidson
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Case 1:20-cv-23463-MGC Document 15 Entered on FLSD Docket 03/19/2021 Page 4 of 5




   Plf  De Live            Direct      Cross                 Address                       Description of Witness
   #     f  or             (est.)      (est.)
         #  by
           Depo
    15.    Depo                                  5000 University Dr.                 Any and all doctors who treated
                                                 Coral Gables, FL 33146              Ms. Perez-Sera at Doctors
                                                                                     Hospital

                                                                                     Knowledge as to damages


    16.          Live                            2525 SW 75 Ave., 3rd Floor          Any and all physical therapists at
                                                 Miami, FL 33155                     West Gables Health Care Center

                                                                                     Knowledge as to damages

    17.          Depo                            c/o Carnival Cruise Lines           Medical Records Custodian
                                                                                     Carnival Horizon Medical Center

    18.          Depo                            5000 University Dr.                 Medical Records Custodian
                                                 Coral Gables, FL 33146              Doctors Hospital


    19.          Depo                            2525 SW 75 Ave., 3rd Floor          Medical Records Custodian
                                                 Miami, FL 33155                     West Gables Health Care Center


    20.          Depo                            1150 Campo Sano Ave.                Medical Records Custodian
                                                 3rd Floor                           Charles Javier Jordan, M.D.
                                                 Coral Gables, FL 33146

    21.          Depo                            1321 NW 14th St.                    Medical Records Custodian
                                                 Miami, FL 33125                     Manuel Garcia-Frangie, MD



    22.          Depo                            7265 SW 93 Ave                      Medical Records Custodian
                                                 Suite #203                          Rosanna Buigas, M.D.
                                                 Miami, FL 33173




                                                         4
                                                Colson Hicks Eidson
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Case 1:20-cv-23463-MGC Document 15 Entered on FLSD Docket 03/19/2021 Page 5 of 5




          Plaintiff reserves the right to call any witness identified on Defendants’ Fact Witness List.

  Plaintiff reserves her right to amend and supplement the discovery responses, as discovery

  progresses.

                                                       Respectfully submitted,

                                                      COLSON HICKS EIDSON
                                                      Attorneys for Plaintiff
                                                      255 Alhambra Circle, PH
                                                      Coral Gables, Florida 33134
                                                      Tel.: (305) 476-7400
                                                      Fax: (305) 476-7444


                                                       By /s/ Deborah J. Gander
                                                              Deborah J. Gander
                                                              Florida Bar No. 34363
                                                              Deborah@colson.com
                                                              Lina@colson.com
                                                              Eservice@colson.com




                    CERTIFICATE OF ELECTRONIC FILING AND SERVICE

                   I HEREBY CERTIFY that, on March 19, 2021, I filed a true and correct copy of

  the foregoing document with the Clerk of Court using the CM/ECF system. I also certify that the

  foregoing document is being served this day on Michael J. Drahos, Esq., GRAY ROBINSON, P.A.,

  515 North Flagler Drive, Suite 1425, West Palm Beach, Florida 33401, T: (561) 268-5727, F: (561)

  268-5745, michael.drahos@gray-robinson.com; lilia.parker@gray-robinson.com, and all counsel of

  record via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                                /s/ Deborah J. Gander
                                                                Deborah J. Gander

  Tort/Perez-Sera/Pleadings/Witness List

                                                       5
                                              Colson Hicks Eidson
        255 Alhambra Circle, Penthouse, Coral Gables, Florida 33134-5008 Tel. (305) 476-7400 Fax (305) 476-7444
